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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                   COLUMBUS DIVISION

UNITED STATES OF AMERICA

                      v.                                   CASE NO. 4:23-mj-122            (MSH)

JUSTIN W. NAILLIS
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THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT I

        That on or about August 28, 2023, on lands acquired for the use of the United States and
under the exclusive jurisdiction thereof, known as the United States Army Maneuver Center of
Excellence, Fort Moore, Georgia, and located within the Columbus Division of the Middle
District of Georgia and within the jurisdiction of this Court, JUSTIN W. NAILLIS, did
unlawfully take and carry away with intent to steal and purloin (1) 15 ounce Monster Energy
Drink and (1) 6 count Tastykake Rolls; of the goods and property of the Army and Air Force
Exchange Service, in violation of Title 18, United States Code Section 641.


                                                PETER D. LEARY
                                                UNITED STATES ATTORNEY

                                                /s/ Jesse L. Ondera
                                                JESSE L. ONDERA
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